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Proposed Counsel for Northeast Brooklyn Partnership,
Debtor and Debtor-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------x      --------------------------------------x

In re:                                                              Chapter 11

NORTHEAST BROOKLYN PARTNERSHIP,                                     Case No. 19-40822 (CEC)

               Debtor.

------------------------------------------------------------x

                        DECLARATION OF JEFFREY E. DUNSTON
                     PURSUANT TO LOCAL BANKRUPTCY RULE 1007-4

         JEFFREY E. DUNSTON, being duly sworn, declares as follows:

         1.      I am an authorized representative and signatory of Northeast Brooklyn

Partnership (the “Debtor”), a New York limited partnership.

         2.      I am acting herein on behalf of the Debtor, and am authorized to submit this

Declaration pursuant to the Eastern District of New York Local Bankruptcy Rule 1007-4 in

support of the voluntary petition filed.

         3.      Unless otherwise stated, I have personal knowledge of the facts contained herein.

I am aware of the business and financial condition of the Debtor.

         4.      Unless otherwise indicated, all financial information contained herein is presented

on an estimated and unaudited basis.
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       5.      The Debtor is not a “small business debtor” as such term is used under section

101(51)(D) of the Bankruptcy Code.

       6.      The Debtor is not a “single asset real estate debtor” as such term is used under

section 101(51)(B) of the Bankruptcy Code.

       7.      No other bankruptcy petition has been filed for this Debtor.

       8.      No committee of creditors has been formed in this case to date.

                                           Background

       9.      The Debtor is a for-profit limited liability partnership organized under the laws of

New York on or about August 29, 1991.           The Debtor owns and operates five residential

buildings and an additional lot (the “Buildings”), totaling 40 units that are over 90% leased:

                         Address                              Units           Neighborhood

 409 Kosciuszko Street, Brooklyn, New York 11221                3          Bedford-Stuyvesant

 403 Kosciuszko Street, Brooklyn, New York 11221               13          Bedford-Stuyvesant

 399 Kosciuszko Street, Brooklyn, New York 11221               12          Bedford-Stuyvesant

 397 Kosciuszko Street, Brooklyn, New York 11221               Lot         Bedford-Stuyvesant

 675 Halsey Street, Brooklyn, New York 11233                    6          Stuyvesant Heights

 671 Halsey Street, Brooklyn, New York 11233                    6          Stuyvesant Heights


       10.     The Debtor’s stated purpose upon its organization was, and remains, to acquire

the land and improvements and rehabilitate or construct the Buildings, to finance such

acquisition and rehabilitation or construction through loans, and to operate, manage, lease, and

otherwise deal with the Buildings as a real estate development consisting of, or including in

significant part, low-income rental housing. The purposes of the partnership also include the




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provision of decent, safe, and sanitary housing affordable to low-income households and

qualifying for low-income housing tax benefits (together, the “Partnership Purpose”).

       11.     The Debtor is a domestic limited partnership with one general partner and one

limited partner.

       12.     Cheryl’s Villa Housing Corporation (“Cheryl’s Villa”) is the general partner of

the Debtor.

       13.     Cheryl’s Villa is a for-profit, New York corporation incorporated on February 15,

1991 with a corporate purpose, among others, of serving as the general partner of a limited

partnership engaged in the development and operation of low-income housing accommodations

under the federal low-income housing tax credit program.

       14.     North Hill 1 LLC (“North Hill”) is the limited partner of the Debtor.

       15.     North Hill is a for-profit, New York limited liability corporation incorporated on

March 7, 2017.

       16.     Northeast Brooklyn Housing Development Corporation (“NEB”) is the sole

shareholder of Cheryl’s Villa and North Hill.

       17.     NEB was incorporated in January 1985 as a 501(c)(3) not-for-profit organization

with a mission to provide affordable rental housing to low-income residents of Central Brooklyn,

with an initial focus on advocacy through block associations and merchant and tenant organizing.

       18.     The Debtor is empowered to do and perform all acts necessary to accomplish the

Partnership Purpose.

       19.     Given the Partnership Purpose of the Debtor and its partnership structure, NEB, as

the sole member of both the Debtor’s general and limited partner manages operations of the

Debtor. NEB executes the administrative, financial and operational functions of the Debtor.




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       20.     A Property Management Agreement and a Janitorial Agreement have been

entered into between NEB and the Debtor, under which NEB operates the Buildings and

provides maintenance services.

       21.     The Debtor maintains insurance on the Building, which is current, and intends to

preserve such coverage. Proof of insurance will be provided to the United States Trustee.

       22.     The value of the Buildings as determined for insurance purposes is in excess of

$8,734,000.00.

       23.     The Debtor believes that significant equity remains in the Buildings which can

support a sale or refinance transaction and ultimately a chapter 11 reorganization.

                                Circumstance Leading to the
                             Commencement of this Chapter 11 Case

A.     The City of New York Mortgages

       24.     The Debtor entered into the following mortgages with the City of New York (the

“City”) totaling $2,848,843.00, as asserted by the City:

             (i) Note dated June 27, 1991 for $2,432,706.00 recorded on August 13, 1991 at
                 Reel 2729 Page 1076. The note and mortgage were thereafter modified by
                 Mortgage and Note Modification Agreement dated July 31, 2012 and recorded
                 August 30, 2012 at CRFN 2012000244851.

             (ii) Note dated July 31, 2012 for $416,137.00 recorded on August 30, 2012 at
                  CRFN 2012000344853.

       25.     At some point the Debtor failed to make monthly debt service after attempts to

sell the Buildings failed due to lack of cooperation by the City.

       26.       The Debtor entered into a contract of sale pre-petition for the sale of the Buildings

for an amount in excess of the secured debt of the City. The Debtor intends to file a motion to

approve the contract of sale.




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B.     The Foreclosure Litigation

       27.      On October 31, 2017, the City commenced the Foreclosure Action in the

Supreme Court of the State of New York, County of Kings (the “State Court”), against the

Debtor and several other parties titled City of New York v. Northeast Brooklyn Partnership, New

York State Department of Taxation and Finance, New York City Environmental Control Board;

City of New York Department of Finance; Betty J. Cox d/b/a JS Secretarial Services; and “John

Does” #’s 1-100 (No. 521090/2017) (the “Foreclosure Action”).

       28.     The City commenced the commercial foreclosure action alleging that the Debtor

failed to comply with the terms and provisions of the mortgages by failing to pay the monthly

debt service due and owing on July 1, 2017, and thereafter.

       29.     On December 13, 2018, the State Court entered an Order of Receivership

[NYSCEF Doc. No. 95].

       30.     Upon information and belief, the receiver appointed therein has not taken any

steps in furtherance of its duty.

       31.     The Debtor believes it can consummate a sale or refinance transaction within the

parameters of chapter 11.

       32.     In order to avoid the potential disposition of the Building and to preserve the

value of the Buildings for the benefit of the Debtor and its partners, the Debtor files this chapter

11 case.

                       Other Disclosures Required by Local Rule 1007-4

       33.     Local Rule 1007-4 requires the Debtor to disclose certain information.           The

information is outlined below and set forth in the exhibits attached hereto.




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        34.    As required by Local Bankruptcy Rule 1007-4(a)(i), the Debtor is required to set

forth whether the debtor is a small business debtor within the meaning of Section 101(51)(D).

The Debtor is not a small business debtor under this statute.

        35.    As required by Local Bankruptcy Rule 1007-4(a)(v), the Debtor must provide a

list of the Debtor’s twenty (20) largest unsecured creditors. The list is attached hereto as Exhibit

“A”.

        36.    As required by Local Bankruptcy Rule 1007-4(a)(vi), the Debtor must provide a

list of the Debtor’s five largest secured creditors. The list is attached hereto as Exhibit “B”.

        37.    As required by Local Bankruptcy Rule 1007-4(a)(vii), the Debtor must provide a

summary of the Debtor’s assets and liabilities. Attached as Exhibit “C” is the Debtor’s latest

Balance Sheet, which reflects the Debtor’s assets and liabilities.

        38.    As required by Local Bankruptcy Rule 1007-4(a)(viii), the Debtor is required to

disclose whether any of its securities are publicly held. The Debtor has no publicly traded

securities.

        39.    As required by Local Bankruptcy Rule 1007-4(a)(ix), the Debtor is not aware of

any property being held in the possession or custody of any custodian, public officer, mortgagee,

pledgee, assignee of rents, or secured creditor, or agent for any such entity.

        40.    As required by Local Bankruptcy Rule 1007-4(a)(x), the Debtor must provide a

list of the premises owned, leased or held under any other arrangement from which the debtor

operates its business. The Debtor owns the Buildings described above.

        41.    As required by Local Bankruptcy Rule 1007-4(a)(xi), the Debtor must provide a

list of the locations of the Debtor’s significant assets, books and records. The Debtor’s main




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assets are the Buildings. The Debtor has a bank account with Bank of America. The Debtor’s

books and records are located with NEB at 132 Ralph Avenue, Brooklyn, New York 11233.

       42.     As required by Local Bankruptcy Rule 1007-4(a)(xii), the Debtor must provide

the nature and present status of each action or proceeding, pending or threatened, against the

debtor or its property where a judgment against the debtor or a seizure of its property may be

imminent. Attached hereto as Exhibit “D” is a schedule of lawsuits currently pending where the

Debtor is a party. The Debtor intends to add additional items as necessary.

       43.     As required by Local Bankruptcy Rule 1007-4(a)(xiii), the Debtor must provide

the names of the debtor’s existing senior management, their tenure with the debtor, and a

summary of their relevant responsibilities and experience.       As of February 11, 2019, the

authorized representative of the Debtor is as follows:

                  Jeffrey Dunston, 27 years – Authorized representative of the Debtor
                  and oversees the management and operation of the entity. Has over
                  25 years of experience in the field of community, economic and real
                  estate development that has resulted in community assets totaling
                  $150MM. Mr. Dunston is also the chief executive officer of NEB.
                  Mr. Dunston is a director of Cheryl’s Villa, a director of North Hill
                  and the authorized representative of the Debtor.

       44.     As required by Local Bankruptcy Rule 1007-4(a)(xiv), the Debtor must provide

the estimated amount of weekly payroll. The Debtor maintains no weekly payroll.

       45.     As required by Local Bankruptcy Rule 1007-4(a)(xv), the Debtor must provide

the amount paid and proposed to be paid to officers and directors for services for the 30-day

period following the filing of the chapter 11 petition. The Debtor will pay no officers and

directors during the 30-day period following date of the Order for Relief.

       46.     As required by Local Bankruptcy Rule 1007-4(a)(xvi), the Debtor must provide a

schedule for the 30-day period following the filing of the chapter 11 petition, of estimated cash




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receipts and disbursements, net cash gain or loss, obligations and receivables expected to accrue

but remaining unpaid, other than professional fees, and any other relevant information. Given

the Balance Sheet filed herewith as Exhibit “C” the estimated monthly receipts and

disbursements are approximately $26,800.92 and $19,754.87, respectively.

          47.    As required by Local Bankruptcy Rule 1007-4(a)(xvii), the Debtor must provide

additional information that may be necessary to fully inform the Court of the Debtor’s

rehabilitation prospects. The Debtor intends to supplement this filing with any information it

believes would be necessary or helpful to fully inform the Court of the Debtor’s rehabilitation

prospects.

          I hereby declare, under penalty of perjury, pursuant to section 1746 of title 28 of the

United States Code, that the foregoing is true to the best of my knowledge, information and

belief.

Dated: New York, New York
       February 12, 2019
                                              Jeffrey E. Dunston
                                              Authorized Representative of
                                              Northeast Brooklyn Partnership




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                          INDEX OF EXHIBITS

         Exhibit “A” – Debtor’s Twenty (20) Largest Unsecured Creditors

         Exhibit “B” – Debtor’s Five Largest Secured Creditors

         Exhibit “C” – Balance Sheet

         Exhibit “D” – Schedule of Lawsuits
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                                    EXHIBIT “A”

      DEBTOR’S TWENTY (20) LARGEST UNSECURED CREDITORS

   Name of creditor and complete     Nature of     Amount of           C U D (If
     mailing address, including       Claim         Claim        contingent, enter C;
              zip code                                             if unliquidated,
                                                                 enter U; if disputed,
                                                                       enter D.)
  NYC Water Board                   Trade debt      $49,361.93            n/a
  PO Box 11863
  Newark, NJ 07101-8163
  MDG Design & Construction LLC     Trade debt      $42,399.74            n/a
  1328 New York Avenue
  Huntington Station, NY 11746
  NEBHDCo                           Contract        $41,263.23            n/a
  132 Ralph Ave.                    arrears
  Brooklyn, NY 11233
  NEBHDCo                           Contract        $16,217.88            n/a
  132 Ralph Ave.                    arrears
  Brooklyn, NY 11233
  NYC Dept. of Finance              Taxes           $15,438.56            n/a
  100 Gold Street
  New York, NY 10038
  Ivan Armstrong, CPA               Professional    $12,646.00            n/a
  45-09 30th Avenue                 services
  Astoria, NY 11103
  J. Alam Home Improvement, Inc.    Trade debt       $6,200.00            n/a
  230 Ocean Parkway, Apt D8
  Brooklyn, NY 11218
  E & S Maintenance                 Trade debt       $6,009.80            n/a
  PO Box 190917
  Brooklyn, NY 11219
  National Grid                     Trade debt       $5,711.65            n/a
  PO Box 11741
  Newark, NJ 07101-4741
  S.D.L. Appliance Repair Service   Trade debt       $5,128.03            n/a
  727 Schenck Avenue
  Brooklyn, NY 11207
  ConEdison                         Trade debt       $4,907.18            n/a
  JAF Station
  P.O. Box 138
  New York, NY 102766-0138
  Superior Maintenance Supply       Trade debt       $4,526.02            n/a
  162 Spencer St.
  Brooklyn NY 11205
  Rosenblum & Bianco, L.L.P.        Professional     $4,515.25            n/a
  100 Merrick Road, Suite 306E      services
  Rockville Centre, NY 11570

  Advantage Wholesale Supply        Trade debt       $4,403.01            n/a
  172 Empire Boulevard
  Brooklyn, NY 11225
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  Diamond Pump Electric Motor Co.   Trade debt       $3,756.19      n/a
  5511 Metropolitan Avenue
  Queens, NY 11385
  New York Water Management Inc.    Trade debt       $3,252.05      n/a
  P.O. Box 190727
  Brooklyn NY 11219
  Eldon V. Lessie                   Trade debt       $2,759.00      n/a
  292 Midwood Street, B5
  Brooklyn, NY 11225
  SiteCompli, LLC                   Trade debt       $2,707.84      n/a
  53 West 23rd Street, 12th Fl.
  New York, NY 10010
  Cohn Reznick LLP                  Professional     $2,300.00      n/a
  1 Boston Place, Suite 500         services
  Boston, MA 02108
  BXTERMINATOR                      Trade debt       $1,435.16      n/a
  625 Southern Blvd., Suite 1A
  Bronx, NY 10455




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                                               EXHIBIT “B”

                         DEBTOR’S FIVE LARGEST SECURED CREDITORS

    Name of creditor and       Name, telephone number, and    Nature of    Amount of           C U D (If
  complete mailing address,      email address of creditor     Claim        Claim          contingent, enter
         including                        contact                                         C; if unliquidated,
          zip code                                                                             enter U; if
                                                                                          disputed, enter D.)
The City of New York           Department of Housing          Mortgage    $2,848,843.00   C, U, D
Department of Housing          Preservation and Development               as of 6/31/12
Preservation and Development   Attn: Marc S. DeMilt
100 Gold Street                100 Gold Street, Room 5-W2
New York, New York 10038       New York, New York 10038
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                              EXHIBIT “C”


                          BALANCE SHEET
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                            Northeast Brooklyn, LP (nor)

                                Balance Sheet
                                 Period = Jan 2019
                           Book = Accrual ; Tree = ysi_bs
                                                                     Current Balance


10000     ASSETS


11000     CASH IN BANKS
11010       Operating Account                                                 17,721.99
11025       Operating LC Escrow Acct.                                            -149.04
11030       Operating Reserve - ML                                            11,870.00
11033     Operating Reserves - HDC                                           201,327.01
11040       Replacement Reserve - ML                                            7,870.00
11043     Replacement Reserves HDC                                            21,942.32
11050       Tenant Security Deposit                                           17,684.74
11499     CASH IN BANKS                                                     278,267.02


13000     RENT RECEIVABLE
13010       Residential Rent Receivable                                       85,296.86
13011     Contra Residential Rec.                                              -1,357.10
13019     Accts Rec - Suspense                                                  1,525.11
13020       Residential Subsidy Receivable                                      4,718.08
13060       Allowance for Uncollectable                                       19,161.92
13499     TOTAL RENT RECEIVABLE                                              67,970.81


14000     INTERCOMPANY RECEIVABLE
14130       D/T-D/F Hunterfly, LP                                               3,000.00
14200       D/T-D/F NEB, LP                                                   -10,970.13
14230       D/T-D/F NEBHDCO (General)                                           6,463.61
14240       D/T-D/F Northeast Brooklyn, LP                                     -1,059.25
14260       D/T-D/F Raymond Ballard Apartments, HDFC                          -10,000.00
14499     TOTAL INTERCOMPANY RECEIVABLE                                     -12,565.77
16010       Prepaid Expense                                                     2,235.00
16030       Utilities Deposit                                                    205.00
16060       Escrow Replacement Reserve                                              6.72
16070       Escrow Insurance                                                        6.72
16120       D/T Operating Reserve                                               3,750.00
16130       D/T Replacement Reserve                                             3,000.00
16140       Other Assets                                                      66,176.00
16499     TOTAL OTHER CURRENT ASSEST                                         75,379.44


17000     FIXED ASSETS
17010       Appliance                                                         18,642.95
17020       Building                                                          18,000.00
17030       Building Equipment Portable                                         6,288.18
17050       Building Improvement - Residential                              3,569,426.58

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                            Northeast Brooklyn, LP (nor)

                               Balance Sheet
                                    Period = Jan 2019
                          Book = Accrual ; Tree = ysi_bs
                                                                      Current Balance
17070       Land                                                                 2,000.00
17110       Organizational Costs                                                 7,499.42
17120       Accumulated Amortization                                            -2,000.00
17130       Accumulated Depreciation                                        -2,711,865.98
17499     TOTAL FIXED ASSETS                                                 907,991.15
18190       Dev - Asbestos Inspection & Test                                      975.00
18499     TOTAL CONSTRUCTION COSTS                                               975.00
19999     TOTAL ASSETS                                                     1,318,017.65


20000     LIABILITIES


21000     CURRENT LIABILITIES
21010       Accounts Payable                                                  626,423.17
21012       Contra A/P                                                         -27,603.10
21020       Accrued Expenses                                                     4,000.00
21023     A/P Contra Account - CPC                                            -431,127.84
21026     A/P Contra MDG Construction                                          -42,399.74
21030       Accrued Interest                                                   51,149.21
21035       Accrued Construction Cost                                          -27,775.24
21036       Water, Sewer & RE Tax                                              31,568.15
21039       Accrued Management Fees                                            12,726.98
21040       Tenant Deposit Payable                                             22,790.81
21041     Accrued Janitorial Fees                                              23,833.11
21050       Tenant Deposit Interest Payable                                        50.62
21070       Prepaid Rental Income - Cash Basis                                   1,658.83
21080       Prepaid Subsidy Income                                               2,503.59
21082     Prepaid Rent - Contra                                                 -1,357.10
21499     TOTAL CURRENT LIABILITIES                                          246,441.45


23000     BUILDING LOANS PAYABLE
23010       Mortgage Principal HPD                                           2,157,615.27
23011     Mortgage Principal - NYCHDC                                          84,140.00
23100       NYC HPD Loan                                                      403,748.00
23105     Mortgage                                                            275,000.00
23499     TOTAL BUILDING LOANS PAYABLE                                     2,920,503.27
29999     TOTAL LIABILITIES                                                3,166,944.72


30000     EQUITY
30020       Net Assets, Limited Partnership Equity                          -1,414,552.15
30030       General Partner Equity                                             -21,285.20
30050       Retained Earnings                                                 -413,089.72
39999     TOTAL EQUITY                                                    -1,848,927.07

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             Northeast Brooklyn, LP (nor)

               Balance Sheet
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            Book = Accrual ; Tree = ysi_bs
                                                      Current Balance



  TOTAL LIABILITIES & EQUITY                            1,318,017.65




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                                       EXHIBIT “D”

                                SCHEDULE OF LAWSUITS

CAPTION OF SUIT         CASE NUMBER      NATURE OF      COURT &         STATUS OR
                                         PROCEEDING     LOCATION        DISPOSITION
City of New York v.     Index No.        Foreclosure    Kings County    Stayed
Northeast Brooklyn      521090/2017                     Supreme Court
Partnership, New York
State Department of
Taxation and Finance,
New York City
Environmental Control
Board; City of New
York Department of
Finance; Betty J. Cox
d/b/a JS Secretarial
Services; and “John
Does” #’s 1-100




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